Case 1:15-cv-07433-LAP Document 1198-24 Filed 01/27/21 Page 1 of 7




                      Exhibit 8
            (File Under Seal)
Case 1:15-cv-07433-LAP Document 1198-24 Filed 01/27/21 Page 2 of 7




                                 *,8))5(

                                      96

                                0$;:(//
                                   'HSRVLWLRQ


                           9,5*,1,$ *,8))5(

                                   



    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




          $JUHQ %ODQGR &RXUW 5HSRUWLQJ                  9LGHR ,QF
                            WK 6WUHHW 6XLWH 
                           'HQYHU &RORUDGR 
                                
                $JUHQ %ODQGR
     Case 1:15-cv-07433-LAP  &RXUW 5HSRUWLQJ
                            Document            9LGHR
                                     1198-24 Filed     ,QF Page 3 of 7
                                                   01/27/21

 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24                                                     .
25

                           9,5*,1,$ *,8))5(                       
                $JUHQ %ODQGR
     Case 1:15-cv-07433-LAP  &RXUW 5HSRUWLQJ
                            Document            9LGHR
                                     1198-24 Filed     ,QF Page 4 of 7
                                                   01/27/21

 1    2011 over this.
 2          Q        Where were you living in 2011 when Shaza
 3    came to see you --
 4          A        Oh,
 5          Q        Do you recall applying for any job in or
 6    around 2011 and someone referencing Defendant's
 7    Exhibit 26 and denying you a job?
 8          A        I don't -- I don't think I applied for a
 9    job in 2011.
10          Q        Okay.     Did you go see a doctor and talk to
11    any doctor about Defendant's Exhibit 26?
12          A        Not about this.          Not about this paper
13    right here.      But I have talked to doctors about my
14    abuse at the hands of Ghislaine and Jeffrey.
15          Q        Have you talked to a doctor about any
16    statements in the press made by Ghislaine Maxwell?
17          A        Recent statements, yes.
18          Q        Which doctor did you speak to about that?
19          A        Her name is Judith Lightfoot.
20          Q        And where is she?
21          A        She's in Australia.
22          Q        Where in Australia?
23          A        She's in Sydney, but we do phone
24    conversations.
25          Q        Have you ever met her in person?

                           9,5*,1,$ *,8))5(                       
                $JUHQ %ODQGR
     Case 1:15-cv-07433-LAP  &RXUW 5HSRUWLQJ
                            Document            9LGHR
                                     1198-24 Filed     ,QF Page 5 of 7
                                                   01/27/21

 1          A        Yes.
 2          Q        When?
 3          A        In 2011.
 4          Q        All right.         And is she affiliated with an
 5    office or a hospital or what?
 6          A        She's a psychiatrist.
 7          Q        All right.         Have you seen her in person
 8    since 2011?
 9          A        No, because I've lived so far away and
10    she's kind of the only person that -- like, I've seen
11    a lot of doctors.          And I can honestly tell you --
12    it's really hard for them to break down the walls and
13    be comfortable enough to talk to them about this
14    stuff.     Judith is different.              She's somebody that I
15    feel I can trust.          She's 76 and she's just a very
16    lovely lady.
17                   And she offers me other ways to deal with
18    my pain and suffering.             And I continue to see her
19    over the phone because I can't see her in person.
20          Q        Do you recall ever discussing with her
21    Defendant's Exhibit 26?
22          A        I can't recall ever seeing this exhibit.
23    So --
24          Q        Okay.
25                   (Exhibit 27 marked.)

                            9,5*,1,$ *,8))5(                       
                $JUHQ %ODQGR
     Case 1:15-cv-07433-LAP  &RXUW 5HSRUWLQJ
                            Document            9LGHR
                                     1198-24 Filed     ,QF Page 6 of 7
                                                   01/27/21

 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                           9,5*,1,$ *,8))5(                       
                $JUHQ %ODQGR
     Case 1:15-cv-07433-LAP  &RXUW 5HSRUWLQJ
                            Document            9LGHR
                                     1198-24 Filed     ,QF Page 7 of 7
                                                   01/27/21

 1    STATE OF COLORADO)
 2                           )     ss.        REPORTER'S CERTIFICATE
 3    COUNTY OF DENVER )
 4                 I, Kelly A. Mackereth, do hereby certify
 5    that I am a Registered Professional Reporter and
 6    Notary Public within the State of Colorado; that
 7    previous to the commencement of the examination, the
 8    deponent was duly sworn to testify to the truth.
 9                 I further certify that this deposition was
10    taken in shorthand by me at the time and place herein
11    set forth, that it was thereafter reduced to
12    typewritten form, and that the foregoing constitutes
13    a true and correct transcript.
14                 I further certify that I am not related to,
15    employed by, nor of counsel for any of the parties or
16    attorneys herein, nor otherwise interested in the
17    result of the within action.
18                 In witness whereof, I have affixed my
19    signature this 11th day of May, 2016.
20                 My commission expires April 21, 2019.
21

22                          ____________________________
                            Kelly A. Mackereth, CRR, RPR, CSR
23                          216 - 16th Street, Suite 600
                            Denver, Colorado 80202
24

25

                           9,5*,1,$ *,8))5(                       
